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           8

           9                          IN THE UNITED STATES DISTRICT COURT

          10                       FOR THE EASTERN DISTRICT OF CALIFORNIA

          11

          12   VIDEO GAMING TECHNOLOGIES,
               INC., dba VGT, Inc., a Tennessee                     2:08-CV-01241-JAM-EFB
          13   Corporation, et al.,
                                                                STIPULATION AND ORDER FOR
          14                                        Plaintiffs, EXTENSION OF TIME TO FILE
                                                                RESPONSIVE PLEADINGS
          15                v.

          16   BUREAU OF GAMBLING CONTROL, a
               law enforcement division of the California
          17   Department of Justice, et al.,

          18                                     Defendants.

          19                                                        Date:
                                                                    Time:
          20   CAPITAL BINGO, INC., a California                    Courtroom: 6
               corporation, et al.,                                 Judge        The Honorable John A. Mendez
          21                                                        Trial Date
               and                                                  Action Filed: June 4, 2008
          22

          23   EL CAMINO ATHLETIC BOOSTERS
               CLUB, a California non-profit corporation,
          24
                                                 Intervenors.
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                             Stipulation and Order For Extension of Time to File Responsive Pleadings
                                                                                             (2:08-CV-01241-FCD-EFB)
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           1         Based upon previous stipulations between the Plaintiffs and Intervenors and the

           2   Defendants, Defendants’ responsive pleadings to the three current amended complaints in this

           3   matter are currently due on December 15, 2008. As these amended complaints raise difficult but

           4   similar issues of law after the passage of California State Senate Bill 1369, and the parties have

           5   just recently filed supplemental briefs in the Court of Appeals on the effect of SB 1369 on the

           6   preliminary injunction that need to be reviewed prior to the filing of responsive pleadings, and

           7   Plaintiff Video Gaming Technologies, Inc., has filed a motion to dismiss its claims, Defendants

           8   require additional time to appropriately respond to the new issues raised by all three of the

           9   amended complaints. Additionally, Defendants’ lead counsel is involved in responding to an
          10   action for a preliminary injunction that is scheduled to be heard in Los Angeles Superior Court on
          11   December 22, 2008.
          12         IT IS THEREFORE STIPULATED that Defendants may file a response to the three current
          13   amended complaints not later than December 29, 2008; and the parties to this stipulation
          14   respectfully request that this Court grant the extension of time as requested and stipulated.
          15         IT IS SO STIPULATED
          16   Dated: December 10, 2008                              EDMUND G. BROWN JR.
                                                                     Attorney General of California
          17                                                         SARA J. DRAKE
                                                                     Supervising Deputy Attorney General
          18
                                                                     /s/ WILLIAM L. WILLIAMS, JR.
          19
                                                                     WILLIAM L. WILLIAMS, JR.
          20                                                         Deputy Attorney General
                                                                     Attorneys for Defendants
          21

          22   Dated: December 10, 2008                              NOSSAMAN LLP
          23                                                         /S/ GEOFFREY A. GOODMAN
          24                                                         _____________________________
                                                                     GEOFFREY A. GOODMAN
          25                                                         ATTORNEYS FOR INTERVENORS
          26

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                                                                 2
                               Stipulation and Order For Extension of Time to File Responsive Pleadings
                                                                                               (2:08-CV-01241-FCD-EFB)
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           1   Dated: December 10, 2008                              STEVENS & O’CONNELL LLP

           2                                                         /s/ ALEXANDER M. MEDINA
                                                                     _____________________________
           3                                                         ALEXANDER M. MEDINA
                                                                     Attorneys for Plaintiffs
           4

           5   Dated: December 10, 2008                              LAW OFFICES OF K. GREG PETERSON

           6                                                         /s/ K. GREG PETERSON
                                                                     _____________________________
           7                                                         K. GREG PETERSON
                                                                     Attorneys for Intervenors
           8

           9
          10                                                 ORDER
          11

          12          Based upon the above stipulation of the parties and for good cause shown, the time in

          13   which Defendants may file responses to the three current amended complaints of Plaintiffs Video

          14   Gaming Technology, Inc., et al., Plaintiffs-Intervenors Capital Bingo Inc., et al. and Plaintiff-
          15
               Intervenor El Camino Athletic Boosters Club is extended to and including December 29, 2008.
          16

          17   Dated: December 11, 2008
          18
                                                             /s/ John A. Mendez_____________
          19                                                 HONORABLE JOHN A. MENDEZ

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          21                                                                                                30593070.doc


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                               Stipulation and Order For Extension of Time to File Responsive Pleadings
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